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              IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF MONTANA

                             BUTTE DIVISION

GINA JAEGER, individually, AND AS) Cause No. CV-16-30-BU-SEH
PERSONAL REPRESENTATIVE OF       )
THE ESTATE OF HER SISTER         )
CHARLENE HILL,                   )
                                 )
          Plaintiff,             ) MOTION TO COMPEL
                                 ) ARBITRATION
     vs.                         )
                                 )
PEAK MEDICAL MONTANA             )
OPERATIONS, LLC,                 )
                                 )
          Defendant.             )
                                 )
  ______________________________________________________________
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      Defendant Peak Medical Montana Operations, LLC (“Peak”) moves the

Court for an order compelling the parties to submit to arbitration and staying this

action until arbitration has been completed. Peak respectfully requests the Court

grant the motion for the reasons set forth in its brief in support of this motion.

Pursuant to Local Rule 7.1(c)(1), counsel for Peak have conferred in good faith

with counsel for Plaintiff in an effort to resolve this issue without Court action.

Plaintiff objects to this motion.

      Dated this 14th day of February, 2017.

                                        CROWLEY FLECK PLLP


                                        /s/ Brett P. Clark
                                        Brett P. Clark
                                        Attorneys for Peak Medical Montana
                                        Operations, LLC




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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of

United States District Court for the District of Montana by using the CM/ECF

system on February 14th, 2017.

      Participants in the case who are registered CM/ECF users will be served by

the CM/ECF system.

      I further certify that some of the participants in the case are not registered

CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage

prepaid, and by Email, have dispatched it to a third party commercial carrier for

delivery within 3 calendar days to the following non-CM/ECF participants:

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                                        /s/ Brett P. Clark
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